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               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               CR. NO. 20-00068 LEK

                                       ORDER GRANTING
                                       DEFENDANT’S MOTION FOR
     vs.                               LEAVE TO FILE EX PARTE UNDER
                                       SEAL EXHIBIT H
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 [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION FOR LEAVE

                TO FILE EX PARTE UNDER SEAL EXHIBIT H

      Upon consideration of Defendant Nickie Davis’ Exhibit H of Index of Exhibits

in support of her Opposition to Motion of Judicial Finding of Waiver of Attorney-

Client Privilege, the files and records herein, and good cause appearing therefor;

      IT IS HEREBY ORDERED that the Ex Parte Motion is GRANTED. The Court

grants Defendant leave to file Exhibit H of the Index of Exhibits under seal.

      DATED AT HONOLULU, HAWAII, May 19, 2022.




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